nnvisl-:o(osm) _ _
Case 2:02-Cr-20433-BBD Document 215 Fl|ed 08/24/05 Page 1 of 4 Page|D 247

UNITED sTATEs nlsTRIcT CoURT
F"Eo BY 91 o.e.'

for

05 AUG .
wEsTERN I)ISTRICT oF TENNESSEE ZL' m 5' 58

 

U.S.A. vs. Catrina Graodbe[_l_'g Docket No.

Petition on Probation and Supervised Release

C()MES NOW Edward E. Shaw PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Catrina GrBdbe-g who was placed on supervision by the Honorable
Bernice B. Donald sitting in the Court at Memphis, TN on the 19th day of September , 2003, who fixed the
period of supervision at two 121 years , and imposed the general terms and conditions theretofore adopted by
the Court and also imposed Special Conditions and terms as follows:

1. The defendant shall participate in the Home Detention Program for a period of six (6) months.
(Completed.)
2. The defendant shall pay restitution in the amount of $1,931.25. (Balance owed: $1,331.00)

RESPECTFULLY PRESENTING PETITION FOR AC'I'ION OF COURT FOR CAUSE AS FOLLOWS:

Please see page 2.

PRAYING THAT TI-IE COURT WILL ORDER the modifications as indicated on Probation Form
49/Waiver of Hearing to Modify Conditions (See attached)

ORDER OF COURT Respecthllly

 

2005 and ordered Edward E. Shaw
United States Probation OH`icer

Co Sidered and ordered aus¢?)’¢_»;( day of _W
med§ §§

   

made a part of the records in e
the above e.

 
   
 

Place:
United State roba ion Oiflcer

tates District Judge Date: fEZ 3005-
' /

 

This document entered on the docket set in compliance
th sole 55 and/or 32(»;>) frach on ' ’05 02/

Case 2:02-Cr-20433-BBD Document 215 Filed 08/24/05 Page 2 of 4 Page|D 248
Catrina Grandberry
Page 2

RESPECTFULLY PRESENT]NG PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

The Defendant Has Violated the Following Conditions:

The defendant has acknowledged during meetings with the Probation OHicer that she has committed the
following violations

While on Probation, the defendant shall not commit another Federal, state, or local crime and shall not
illegally possess a tirearm, ammunition, or destructive device.

In a monthly report form certified by the defendant on luly 7, 2005, the defendant made a false statement in
violation of l 8 USC 1001, by falsely indicating she was unemployed and that her only income during the past month
was from government benefits and gifts from another person. In fact, during June of 2005, the defendant actually
Was working and had additional income from her job.

The defendant shall pay restitution in the amount of $1,931.25.

Ms. Grandben'y has violated this condition by not making a good faith effort to pay restitution to the best of her
ability. Ms. Grandberry has had some ability to make regular monthly restitution payments of at least $25 .00, but
has failed to do so.

PRoB4sCaSe 2:02-Cr-20433-BBD Document 215 Filed 08/24/05 Page 3 of 4 Page|D 249
(3!89)

United States District Court

We§tern District of 'I`ennessee

Waiver of Hearing to Modify Conditions
of ProbationlSupervised Release or Extend Term of Supervision

I have been advised and understand that I am entitled by law to a hearing and assistance of counsel before any
unfavorable change may be made in my Conditions ofProbation and Supervised Release or my period of supervision
being extended. By "assistance of counsel," I understand that I have the right to be represented at the hearing by
counsel of my own choosing if I am able to retain counsel. I also understand that I have the right to request the court
to appoint counsel to represent me at such a hearing at no cost to myself if I am not able to retain counsel of my own
choosing

I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. I also agree to the
following modification of my Conditions of Probation and Supervised Release or to the proposed extension of my
tenn of supervision:

The original two (2) year term of Probation which commenced on September 19, 2005, shall
be extended by an additional six (6) months so that Probation will continue until March 18,
2006.

'Ihe original conditions of Probation are modified by requiring additional Special Conditions:

l. The defendant shall seek and maintain full time employment

2. The defendant will pay $50 monthly towards restitution

3 The defendant shall serve three (3) months in a halfway house or community
correction center as directed by the Probation Oiiicer.

4, The defendant shall participate and complete as directed by the Probation 0ff1cer in
a program approved by the Probation OHicer for mental health evaluation, counseling
and treatment

Witness: M%/ Signed:

Edward E. Shaw
U.S. Probation Officer
Westem District of Tennessee

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 215 in
case 2:02-CR-20433 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/leniphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

